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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
    In re:                           §
                                     §   Case No. 22-60020
    INFOW, LLC, et al.,              §
                                     §   Chapter 11 (Subchapter V)
        Debtors. 1
                                     §
                                     §   Jointly Administered


                                  WITNESS AND EXHIBIT LIST
                                  (Relates to Docket No. 6, 7, & 36)

    Main Case No: 22-60020                  Name of Debtor: InfoW, LLC, et al.
    Adversary No: N/A                       Style of Adversary: N/A

    Witnesses:
    March Schwartz                          Judge: Hon. Christopher Lopez
    Richard S. Schmidt                      Courtroom Deputy: Kimberly Picota
    Russell M. Nelms                        Hearing Date: April 29, 2022
    Mark Bankston                           Hearing Time: 3:00 p.m.
    Any witness called or designated by     Party’s Name: Neil Heslin, Scarlett Lewis, Leonard
    any other party                         Pozner, Veronique De La Rosa, and Marcel Fontaine
    Any witness necessary to rebut the      Attorney’s Name: J. Maxwell Beatty
    testimony of any witness called or
    designated by any other party
                                            Attorney’s Phone: 832-529-3381
                                            Nature of Proceeding: Hearing on: (i) Debtors’
                                            Emergency Motion for Order Authorizing Appointment of
                                            Russell F. Nelms and Richard S. Schmidt as Trustees of The
                                            2022 Litigation Settlement Trust and Granting Related Relief
                                            [DE 6]; (ii) Debtors’ Emergency Application for Interim and
                                            Final Orders (A) Authorizing Employment of W. Marc
                                            Schwartz as Chief Restructuring Officer, (B) Authorizing
                                            Employment of Staff of Schwartz Associates, LLC in Discharge
                                            of Duties as Chief Restructuring Officer, and (C)Granting
                                            Related Relief [DE 7]; and (iii) Connecticut Plaintiffs’
                                            Emergency Motion to Dismiss Chapter 11 Cases and Objection
                                            to Debtors’ Designation as Subchapter V Small Vendors [DE
                                            36]

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  The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC
f/k/a Infowars Health, LLC (no EIN), Prison Planet TV, LLC (0005). The address for service to
the Debtors is PO Box 1819, Houston, TX 77251-1819.
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                                      EXHIBITS
                                                                 Admitted
                                                                  /Not
Ex.              Description               Offered   Objection   Admitted   Disposition
 1 Chapter 11 Voluntary Petition
    (InfoW, LLC) [Case No. 22-60020,
    DE 1]
 2 Chapter 11 Voluntary Petition (Prison
    Planet TV, LLC) [Case No. 22-60022,
    DE 1]
 3 Chapter 11 Voluntary Petition
    (IWHealth, LLC) [Case No. 22-60020,
    DE 1]
 4 Defendant InfoWars, LLC’s
    Responses to Plaintiff’s
    Interrogatories, Requests for
    Admissions, and Requests for
    Production of Documents [Case No.
    D-1-GN-18-006623]
 5 Defendants’ Response to Plaintiffs
    Motion to Compel and Motion for
    Sanctions [Case No. D-1-GN-18-
    001605]
 6 Amended Order on Plaintiff’s Motion
    for Default Judgment and 2nd Motion
    for Contempt [Case No. D-1-GN-18-
    001835]
 7 Order on Plaintiffs’ Motion for
    Sanctions Regarding Corporate
    Deposition [Case Nos. D-1-GN-18-
    001835 & D-1-GN-18-001842]
 8 Order on Plaintiff’s Motion for
    Sanctions Regarding Evidence
    Tampering [Case No. D-1-GN-18-
    001605]
 9 Plaintiffs’ Fourth Amended Petition
    [Case No. D-1-GN-18-00835]
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Dated: April 27, 2022                                  Respectfully submitted,
                                                       THE BEATTY LAW FIRM PC

                                                       By: /s/J. Maxwell Beatty
                                                       J. Maxwell Beatty
                                                       State Bar No. 24051740
                                                       max@beattypc.com
                                                       1127 Eldridge Pkwy
                                                       Suite 300, #383
                                                       Houston, Texas 77077
                                                       Tel. 832-529-3381
                                                       Fax. 832-852-1266
                                                       Counsel for the Texas Litigation Plaintiffs



                              CERTIFICATE OF SERVICE
        I certify that, on April 27, 2022, a copy of the foregoing motion was served on all parties
registered to receive such service via the Court’s ECF system.

                                                       /s/ J. Maxwell Beatty
                                                           J. Maxwell Beatty
